
998 So.2d 106 (2009)
STATE ex rel. Sugar Ray LEWIS
v.
STATE of Louisiana.
No. 2008-KH-1089.
Supreme Court of Louisiana.
January 16, 2009.
Denied. La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; La.C.Cr.P. art. 930.8; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; cf. La.C.Cr.P. art. 930.4(D).
